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                                   3                                  UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                          SAN JOSE DIVISION

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                                   7     LENA EVANS, et al.,                                 Case No. 22-cv-00248-BLF
                                   8                    Plaintiffs,
                                                                                             ORDER STRIKING REPLY IN
                                   9              v.                                         SUPPORT OF MOTION TO COMPEL
                                                                                             ARBITRATION
                                  10     PAYPAL, INC.,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          Defendant PayPal has filed a reply in support of its motion to compel arbitration. ECF No.

                                  14   33. The reply does not comply with this Court’s standing order, which requires that footnotes be

                                  15   used sparingly (if at all), be double-spaced, and not contain citations to legal authorities or

                                  16   evidence. See Standing Order re Civil Cases § IV.F. The reply brief, which is at the 5-page

                                  17   maximum already, see id. § IV.A.4, contains five single-spaced footnotes containing citations.

                                  18          The reply brief is STRICKEN. PayPal may file a compliant reply brief no later than

                                  19   Thursday, May 12, 2022. This is the third instance in which the Court has stricken a brief or

                                  20   portion of a brief for violation of its standing orders. See ECF No. 24. The parties are

                                  21   ADMONISHED to review and follow the Court’s standing orders.

                                  22          IT IS SO ORDERED.

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                                  24   Dated: May 10, 2022

                                  25                                                     ______________________________________
                                                                                         BETH LABSON FREEMAN
                                  26                                                     United States District Judge
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